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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 AMERICAN FOREIGN SERVICE
 ASSOCIATION, et al.,

        Plaintiffs,

 v.                                                   Civil Action No. 1:25-cv-352-CJN

 PRESIDENT DONALD J. TRUMP, et al.,

        Defendants.



                       NOTICE OF WITHDRAWAL OF COUNSEL

       I, Michael P. Clendenen, hereby withdraw my appearance as counsel in these consolidated

cases. The United States will continue to be represented by other attorneys at the Department of

Justice who have entered appearances in these consolidated cases.

Dated: May 15, 2025                                Respectfully submitted,




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